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FILED

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS APR 23 2019
WESTERN DIVISION MAGISTRATE JUDGE IAIN D, JOHNSTON
UNITED STATES DISTRICT COURT
UNITED STATES OF AMERICA )
) No. 19 CR 50026
Vv. )
) Magistrate Judge Iain D. Johnston
LUIS ALFREDO DELACRUZ )

PROTECTIVE ORDER GOVERNING DISCOVERY

Upon the agreed motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is hereby
ORDERED:

1. All of the materials provided by the United States in preparation for, or in
connection with, any stage of the proceedings in this case (collectively, "the materials") are subject
to this protective order and may be used by defendant and defendant’s counsel (defined as counsel
of record in this case) solely in connection with the defense of this case, and for no other purpose,
and in connection with no other proceeding, without further order of this Court.

2. Defendant and defendant's counsel shall not disclose the materials or their contents
directly or indirectly to any person or entity other than persons employed to assist in the defense,
persons who are interviewed as potential witnesses, counsel for potential witnesses, and other
persons to whom the Court may authorize disclosure (collectively, “authorized persons”).
Potential witnesses and their counsel may be shown copies of the materials as necessary to prepare
the defense, but may not retain copies without prior permission of the Court.

3. Defendant, defendant’s counsel, and authorized persons shall not copy or reproduce
the materials except in order to provide copies of the materials for use in connection with this case
by defendant, defendant’s counsel, and authorized persons. Such copies and reproductions shall

be treated in the same manner as the original materials.
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4. Defendant, defendant’s counsel, and authorized persons shall not disclose any notes
or records of any kind that they make in relation to the contents of the materials, other than to
authorized persons, and all such notes or records are to be treated in the same manner as the original
materials.

5. Before providing materials to an authorized person, defense counsel must provide
the authorized person with a copy of this Order.

6. Upon conclusion of all stages of this case, all of the materials and all copies made
thereof shall be disposed of in one of three ways, unless otherwise ordered by the Court. The
materials may be (1) destroyed; (2) returned to the United States; or (3) retained in defense
counsel's case file. The Court may require a certification as to the disposition of any such
materials. In the event that the materials are retained by defense counsel, the restrictions of this
Order continue in effect for as long as the materials are so maintained, and the materials may not
be disseminated or used in connection with any other matter without further order of the Court.

7. To the extent any material is produced by the United States to defendant or
defendant’s counsel by mistake, the United States shall have the right to request the return of the
material and shall do so in writing. Within five days of the receipt of such a request, defendant
and/or defendant’s counsel shall return all such material if in hard copy, and in the case of
electronic materials, shall certify in writing that all copies of the specified material have been
deleted from any location in which the material was stored.

8. The restrictions set forth in this Order do not apply to documents that are or become

part of the public court record, including documents that have been received in evidence at other
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trials, nor do the restrictions in this Order limit defense counsel in the use of discovery materials
in judicial proceedings in this case, absent prior permission from this Court.
9. Nothing contained in this Order shall preclude any party from applying to this Court

for further relief or for modification of any provision hereof.

SS.

IAIN D. JOHNSXON

Magistrate Judge
United States District Court

Northern District of Illinois
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Date: A I>\(5

Agreed and Jointly submitted by:

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ISUF KOIA, Aitorney for Defendant DATE
J PHC. PEDERSEN, Assistant U.S. Attorney DATE
